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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF INDIANA
                           INDIANAPOLIS DIVISION


  In Re: COOK MEDICAL, INC., IVC
  FILTERS MARKETING, SALES
  PRACTICES AND PRODUCT
  LIABILITY LITIGATION                            1:14-ml-02570-RLY-TAB
  ___________________________________             MDL No. 2570


  This Document Relates to:

  1:17-cv-00685; 1:17-cv-03143;
  1:17-cv-03910; 1:17-cv-03912;
  1:17-cv-03916; 1:17-cv-03918;
  1:17-cv-04752; 1:18-cv-00053;
  1:18-cv-00793; 1:18-cv-02053;
  1:19-cv-00648; 1:19-cv-00860;
  1:19-cv-00955; 1:19-cv-01034;
  1:19-cv-01036; 1:19-cv-01118;
  1:19-cv-01145; 1:19-cv-01178;
  1:19-cv-01209; 1:19-cv-01224;
  1:19-cv-01270; 1:19-cv-01288;
  1:19-cv-01323; 1:19-cv-01338;
  1:19-cv-01378; 1:19-cv-01381;
  1:19-cv-01417; 1:19-cv-01500;
  1:19-cv-01508; 1:19-cv-01510;
  1:19-cv-01512; 1:19-cv-01519;
  1:19-cv-01526; 1:19-cv-01527.


        ORDER ON THE COOK DEFENDANTS’ MOTION TO DISMISS
                         (Filing No. 11227)

      Pursuant to Federal Rule of Civil Procedure 41(b) and Third Amended Case

Management Order (“CMO”) No. 4, the Cook Defendants’ Motion to Dismiss (Filing No.



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11227) is GRANTED in part and DENIED in part. In the cases listed below, Plaintiffs

failed to submit a Plaintiff Profile Form as required by CMO No. 4:

      1.     Coleman, Rita Lynn                       1:17-cv-00685

      2.     Figures, Rhonda J.                       1:17-cv-03143

      3.     Baker, Patricia                          1:17-cv-03910

      4.     Bouchard, Michelle and Gary              1:17-cv-03912

      5.     Sides, Laurie                            1:17-cv-03916

      6.     Ward, Lisa                               1:17-cv-03918

      7.     Terry, Lydia and Allen                   1:17-cv-04752

      8.     Glenberg, Charles and Helen              1:18-cv-00053

      9.     Hakim, Alfred                            1:18-cv-00793

      10.    Brandon, Ralph                           1:18-cv-02053

      11.    Stephens, Danny                          1:19-cv-00955

      12.    Madison, Angela                          1:19-cv-01034

      13.    Gulley, Desi                             1:19-cv-01118

      14.    Giorgianni, Anthony                      1:19-cv-01178

      15.    Nelson, James                            1:19-cv-01209

      16.    Kosarik, Thomas                          1:19-cv-01224

      17.    Bales, Joe Jr.                           1:19-cv-01270

      18.    Hahner, Brett                            1:19-cv-01288

      19.    Tursi, Leonard and Anthony Sr.           1:19-cv-01338

      20.    Riggs, Debra [Estate]                    1:19-cv-01417

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       21.    Bledsoe, Betty                            1:19-cv-01500

       22.    Dennis, Zachary                           1:19-cv-01512

       23.    Dillon, LaShonda                          1:19-cv-01519

       24.    Dunkleberg, Donald                        1:19-cv-01526

Accordingly, the Motion is GRANTED with respect to these Plaintiffs. All parties shall

bear their own costs and fees.

       In the cases listed below, the Plaintiffs did file a PPF. Accordingly, the Motion is

DENIED with respect to the following cases:

       1.     Banks, Carolyn                            1:19-cv-00648

       2.     Smith, John                               1:19-cv-01323

       3.     Yeates, Tymer                             1:19-cv-01381

       4.     Conley, Hubert                            1:19-cv-01508

       5.     Jones, Phyllis A.                         1:19-cv-01510

       6.     Gray, Rodney                              1:19-cv-01527

       7.     Pelt, Jeanette [Estate]                   1:19-cv-00860




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Lastly, the Motion is DENIED as MOOT as to:

      1.     Ellis, Albert C.                         1:19-cv-01378

      2.     Bunner II, Roger Carl                    1:19-cv-01036

      3.     Ware, Betty                              1:19-cv-01145




SO ORDERED this 19th day of July 2019.




Distributed Electronically to Registered Counsel of Record.




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